Case 3:23-cr-08050-MTL Document 2 Filed 03/28/23 Page 1 of 3

U.S. Department of Justice

United States Attorney
District of Arizona

Two Renaissance Square Main: (602) 514-7500
40 N. Central Ave., Suite 1800 Main Fax: (602) 514-7693
Phoenix, AZ 85004-4449

March 28, 2023

Honorable Camille D. Bibles

United States Magistrate Judge

123 North San Francisco Street, Suite 200
Flagstaff, Arizona 86001

Re: United States v. Nehemiah Jake Williams
USAO No. 2023R01182
Court No.
CR-23-8050-PCT-MTL (ESW)

Dear Magistrate Judge Bibles:

This case has been or may be assigned to you. In order for you to determine whether a potential conflict may
exist in a matter that has been assigned to your Court, and in light of your former positions with the Department of
Justice, you have requested that we automatically provide the following information. We have carefully reviewed all
of the available records in our office, to include internal computer data, and determined that:

O A CONFLICT MAY EXIST
To the best of my knowledge, you had direct involvement in this case or matter while you were employed with
the U.S. Attorney’s Office on the following dates: October 1, 1998 through January 11, 2002; January 5, 2004
through March 2, 2012; and April 6, 2015 through February 5, 2019.

Bx]

NO PROBABLE CONFLICT
My review of the file and/or court docket indicates you did not have direct involvement in this case or
matter.

Please feel free to contact me with any questions. Thank you.
Sincerely,

GARY M. RESTAINO
United States Attorney
District of Arizona

s/Anthony W. Church
ANTHONY W. CHURCH
Assistant United States Attorney

AWCy/kir

Case 3:23-cr-08050-MTL Document 2 Filed 03/28/23 Page 2 of 3

U.S. Department of Justice

United States Attorney
District of Arizona

2Two Renaissance Square Main: (602) 514-7500
40 N. Central Ave., Suite 1800 Main Fax: (602) 514-7693
Phoenix, AZ 85004-4449

March 28, 2023
Honorable Dominic W. Lanza
U.S. District Court Judge
Sandra Day O’Connor U.S. Courthouse, Suite 621
401 W. Washington Street, SPC 46
Phoenix, Arizona 85003-2151

Re: United States v. Nehemiah Jake Williams
USAO No. 2023R01182; Court No.

Dear Judge Lanza:

This case has been or may be assigned to you. In order for you to determine whether a potential conflict may
exist in a case or matter that has been assigned to your Court, and in light of your former positions with the Department
of Justice, you have requested that we automatically provide the following information. We have carefully reviewed
all the available records in our office, including the computer data, and determined that (mark the appropriate category,
if applicable):

CL] A CONFLICT MAY EXIST

Oo The case or matter was in the White Collar Fraud and Public Corruption Section of the United States
Attorney’s Office for the District of Arizona while you served in a supervisory capacity over that section
(December 2, 2012 through January 24, 2015).

C The case or matter was in the United States Attorney’s Office for the District of Arizona while you
served in a supervisory capacity over the Criminal Division (January 25, 2015 through September 11,
2018).

CO My review of the file indicates that you had direct involvement in this case or matter while you worked
in the United States Attorney’s Office for the District of Arizona (October 14, 2008 through September
11, 2018).

& NO PROBABLE CONFLICT

My review of the file indicates that: 1) you had no direct involvement in the case or matter; 2) the case
or matter was not in the White Collar Fraud and Public Corruption Section when you supervised that
section (December 2, 2012 through January 24, 2015); and 3) the case or matter was not in the office
when you had supervisory authority over the Criminal Division (January 25, 2015 through September
11, 2018).

Sincerely,

GARY M. RESTAINO
United States Attorney
District of Arizona

s/Anthony W. Church
ANTHONY W. CHURCH
Assistant United States Attorney

Case 3:23-cr-O8050-MTL Document 2 Filed 03/28/23 Page 3 of 3

U.S. Department of Justice

United States Attorney
District of Arizona

Two Renaissance Square Main: (602) 514-7500
40 N. Central Ave., Suite 1800 Main Fax: (602) 514-7693
Phoenix, AZ 85004-4449

March 28, 2023
Honorable Michael T. Morrissey
United States Magistrate Judge
Sandra Day O’Connor U.S. Courthouse, Suite 324
401 W. Washington Street
Phoenix, Arizona 85003-2151

Re: United States v. Nehemiah Jake Williams
USAO No. 2023R01182; Court No.

Dear Judge Morrissey:

This case has been or may be assigned to you. In order for you to determine whether a potential conflict may
exist in a case or matter that has been assigned to your Court, and in light of your former positions with the Department
of Justice, you have requested that we automatically provide the following information. We have carefully reviewed
all the available records in our office, including the computer data, and determined that (mark the appropriate category,
if applicable):

Ci A CONFLICT MAY EXIST

C] The case or matter was in the United States Attorney’s Office for the District of Arizona while you
served in a supervisory capacity over the Appellate Section (November 3, 2002 through May 1, 2005).

C The case or matter was in the National Security and Border Security Section of the United States
Attorney’s Office for the District of Arizona while you served in a supervisory capacity over that section
(May 2007 through October 23, 2011).

DO My review of the file indicates that you had direct involvement in this case or matter while you worked
in the United States Attorney’s Office for the District of Arizona (September 8, 1991 through
September 7, 2013).

hk} NO PROBABLE CONELICT
Xx My review of the file indicates that: 1) you had no direct involvement in the case or matter; 2) the case

or matter was not in the Appellate Section when you supervised that section (November 3, 2002
through May 1, 2005); and 3) the case or matter was not in the office when you had supervisory
authority over the National Security and Border Security Section (May 2007 through October 23,
2011).

Sincerely,

GARY M. RESTAINO
United States Attorney
District of Arizona

s/Anthony W_ Church
ANTHONY W. CHURCH
Assistant United States Attorney

